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                                                      Tuesday, June 12, 2018 at 7:27:50 PM Eastern Daylight Time

Subject:    RE: RIAA v. Grande - Outstanding Discovery Disputes [IWOV-iDocs.FID3130226]
Date:       Thursday, May 10, 2018 at 6:41:27 PM Eastern Daylight Time
From:       Robert B. Gilmore
To:         Richard L. Brophy, Phil O'Beirne, Jonathan E. Missner
CC:         Zachary C. HowensXne, Maggie Szewczyk, Nicholas B. Cliﬀord, Jr., Paul L. Smelcer
AGachments: image001.jpg

Richard:

We write to respond to your email below and to follow up on our meet and confer call from yesterday.

I.         Grande’s Responses to PlainNﬀs’ Discovery Requests

              Document ProducNon: you indicated yesterday that Grande would be producing all responsive
              documents, or inform us that no such documents exist, in response to secXon B. of Phil’s April 19,
              2018 lecer. Please provide us with a date certain, in no event later than May 25, 2018, when all
              such documents will be produced.

              Interrogatories:
                  •   Interrogatory 7: as we discussed, we believe it is clear that Grande can, in fact, generate
                      the reports you describe. Please conﬁrm that Grande can and will generate these reports
                      by the end of the day tomorrow, May 11, 2018.
                  •   Interrogatory 13: we discussed, which your email below does not address. You indicated
                      that Grande’s invesXgaXon into whether or not the lecers exist is sXll ongoing. As you
                      know, this issue has dragged on for many months. Therefore, we need Grande to state in
                      wriXng, by May 18, 2018, either that it has located and will idenXfy/produce such lecers,
                      or that it has concluded its invesXgaXon and found no such lecers.
                  •   Interrogatory 14: on further consideraXon, we need a full answer to this interrogatory,
                      and are prepared to move on this absent a complete response.

                  Please conﬁrm that Defendants will amend their responses by May 18, 2018.

II.        PlainNﬀs’/RIAA’s/Rightscorp’s Responses to Grande’s Discovery Requests

       Completeness of PlainNﬀs’ Document ProducNon: as we have discussed, PlainXﬀs do not anXcipate
       any signiﬁcant volume of addiXonal emails to be produced within the current scope of PlainXﬀs’
       response (i.e., the response subject to PlainXﬀs’ objecXons). I informed you yesterday that PlainXﬀs
       anXcipate that they might produce addiXonal documents in the following categories:
          documents over which PlainXﬀs have a colorable privilege/work product claim, but are willing to
          produce subject to Defendants’ agreement not to assert waiver of such privilege/work product as a
          result of such producXon;
          documents that, upon further review by PlainXﬀs in the course of preparing their privilege logs,
          PlainXﬀs deem non-privileged and responsive (subject to PlainXﬀs’ objecXons); and
          addiXonal documents evidencing ownership of the works in suit by UMG.

       In addiXon, there is one addiXonal category that we previously raised with you and Zach on prior calls
       but did not come up on yesterday’s call:
          certain documents from Sony had some technical issues that we are working to resolve with Sony
          and our e-discovery vendor; once those issues are resolved, we will produce non-privileged and

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  responsive documents (subject to PlainXﬀs’ objecXons) from among that set.

Completeness of RIAA’s producNon: as we discussed yesterday, RIAA, like PlainXﬀs, does not
anXcipate producing any substanXal amount of addiXonal documents. As we discussed, RIAA
anXcipates producing the following documents:
  the RIAA – Rightscorp liXgaXon consulXng agreement related to this lawsuit, if Defendants agree
  not to assert waiver of privilege/work product as a result of RIAA producing that agreement.
  Documents suﬃcient to show RIAA’s payments to Rightscorp in connecXon with the above-
  referenced liXgaXon consulXng arrangement for this lawsuit.

Completeness of Rightscorp’s producNon: Rightscorp is in the process of responding to Defendants’
second subpoena. As for its ﬁrst subpoena, other than the RIAA – Rightscorp agreement referenced
above, and making available for inspecXon the Rightscorp sonware and code, Rightscorp does not
anXcipate producing addiXonal documents in response to Defendants’ ﬁrst subpoena, other than
documents that, upon further review by Rightscorp in the course of preparing its privilege log,
Rightscorp deems non-privileged and responsive (subject to Rightscorp’s objecXons).

PlainNﬀs’ Withholding of Documents: PlainXﬀs will idenXfy in wriXng those of Defendants’
document requests for which PlainXﬀs are withholding documents in light of PlainXﬀs’ objecXons,
with the understanding that Defendants will do likewise with respect to PlainXﬀs’ document
requests. We propose doing so by end of the day on Monday, May 14, 2018.

Privileged/Work Product-Protected Nature of PlainNﬀs/RIAA – Rightscorp Arrangement: your
statements that we have not oﬀered any basis for asserXng the privileged/work product nature of the
arrangement and communicaXons between Rightscorp and PlainXﬀs/RIAA is incorrect. As we
discussed on yesterday’s call, and as Zach and I discussed last week, in 2016, PlainXﬀs/RIAA engaged
Rightscorp for liXgaXon purposes pursuant to the agreement referenced above. Thus, the
communicaXons between PlainXﬀs/RIAA, and Rightscorp, generated in connecXon with this liXgaXon,
are all created in anXcipaXon of or during the conduct of this lawsuit, and therefore are squarely
protected by the work product doctrine. What is more, in connecXon with this liXgaXon,
PlainXﬀs/RIAA and Rightscorp share a common interest and have acted pursuant to a joint
prosecuXon arrangement, and Rightscorp has acted at the direcXon of counsel. Therefore, their
communicaXons also are privileged.

PlainXﬀs, RIAA, and Rightscorp have produced or will be producing responsive, non-privileged
documents, namely, (1) noXces sent to Grande, (2) downloads of works infringed by Grande
customers, (3) the ﬁles and data indicaXng a match between the downloaded works and PlainXﬀs’
Copyrighted Sound Recordings that are the works in suit, and (4) the RIAA – Rightscorp agreement (if
Defendants agree to the non-waiver agreement).

In addiXon, PlainXﬀs and Rightscorp also are producing responsive, non-privileged documents
evidencing communicaXons or (in the case of PlainXﬀs) referencing Rightscorp, that were not
generated in connecXon with this liXgaXon, to the extent that such documents are idenXﬁed in the
materials that PlainXﬀs and Rightscorp collected in response to Defendants’ requests (as objected to
by PlainXﬀs).

As we discussed on the phone with you yesterday, we agree that this issue appears to be in dispute,
and we similarly feel that if Defendants are going to persist in their unwarranted disagreement with
PlainXﬀs/RIAA and Rightscorp’s privilege/work product asserXon in this regard, and move to compel,
that issue can and should be presented to the court before the parXes exchange privilege logs.


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Documents/informaNon about online copyright infringement detecNon/noNﬁcaNon systems other
than the Rightscorp system (e.g., MarkMonitor): PlainXﬀs/RIAA stand on their objecXons to
producing documents and informaXon about these systems. As we discussed yesterday, you and
Zach have claimed (1) that MarkMonitor was retained by RIAA to issue noXces of copyright
infringement to Grande, and (2) MarkMonitor’s system is the same as or substanXally similar to
Rightscorp. We are sXll invesXgaXng both asserXons, and I asked you to provide us with the
informaXon that has led you to make these asserXons, so that we can evaluate our posiXon on
producing these documents/data based on all available informaXon.

Documents/informaNon about noNces of copyright infringement sent to ISPs other than
Grande: PlainXﬀs/RIAA stand on their objecXons to producing documents and informaXon in this
category. I would note that, based on arguments Defendants made, the magistrate judge previously
ruled that Patriot did not have to produce documents about other ISPs’ DMCA policies and pracXces
with regard to online copyright infringement. This ruling further conﬁrms that our objecXon to
Defendants’ requests in this regard are proper.

PlainNﬀs’ ObjecNons to Defendants’ 30(b)(6) NoNces: In terms of the revisions to the speciﬁc topics
you set forth in your email below:
   Topics 4 & 43: you indicated that you would inform us 14 days before the deposiXon, which
   discovery requests you wished to depose a witness about. We agreed we would consider that
   request but reserved the right to object if the requests that Defendants idenXﬁed were too
   numerous or irrelevant.
   Topic 10: in light of your revision, PlainXﬀs will designate one or more witnesses to tesXfy
   generally as to non-privileged, discoverable informaXon regarding this topic, other than as to
   Defendants’ own documents, discovery responses, witness tesXmony, or expert reports, or is set
   forth in reports of experts designated by PlainXﬀs.
   Topics 26 & 27: PlainXﬀs stand on their objecXons.
   Topic 31: PlainXﬀs stand on their objecXons, parXcularly given that, as we discussed with you,
   PlainXﬀs do not agree to logging privileged or work product documents/communicaXons
   generated in connecXon with this liXgaXon.
   Topic 46: in light of your revision, PlainXﬀs will designate one or more witnesses to tesXfy generally
   as to non-privileged, discoverable informaXon regarding this topic speciﬁcally as it relates to
   Grande, other than as to Defendants’ own documents, discovery responses, witness tesXmony, or
   expert reports, or is set forth in reports of experts designated by PlainXﬀs.

During our call, we discussed your contenXon that a party resisXng designaXng 30(b)(6) tesXmony on
an overbroad or irrelevant topic bears the burden of seeking a protecXve order. We asked that you
send any precedent you rely on in support of your contenXon, and you agreed to do so. We reserve
the right to revisit our posiXon based on any precedent you provide us in this regard, but PlainXﬀs
otherwise stand on their objecXons and responses.

PlainNﬀs’ objecNons and responses to Defendants’ document requests: PlainXﬀs stand on their
objecXons and responses to the requests idenXﬁed in your April 25, 2018 lecer, as well as the revised
versions of Requests 56 and 63 set forth in your email below. I would note that your revisions to
Request 63 do not narrow that request, but reinvent it into a request arguably broader, and diﬀerent,
than the one Defendants actually propounded.

However, as we discussed with you during yesterday’s call, notwithstanding PlainXﬀs’ objecXons,
PlainXﬀs are producing non-privileged documents that are broader than the scope of their
objecXons, while reserving the right to stand on those objecXons, with respect to at least two
categories of documents: (1) documents related to Rightscorp, and (2) documents related to the use

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       of BitTorrent to commit online copyright infringement. PlainXﬀs’ scope of search and collecXon
       eﬀorts was deﬁned by PlainXﬀs’ objecXons to Defendants’ document requests (i.e., PlainXﬀs
       idenXﬁed custodians and sources reasonably likely to have documents responsive to what PlainXﬀs
       indicated they would produce subject to PlainXﬀs’ objecXons). But, to the extent a non-privileged
       document in these two categories is idenXﬁed in such collected materials that is otherwise
       responsive to Defendants’ requests as wriGen, PlainXﬀs have produced such documents.

       Grande’s deposiNon subpoena to RIAA: First, following up on my meet and confer with Zach about
       this subpoena from last week, RIAA has revisited its posiXon on the following topics:
          Topics 1, 2, 8, 10, and 11: RIAA will designate one or more witnesses to tesXfy in response to these
          topics as to non-privileged informaXon relaXng to the evidence that RIAA received from Rightscorp
          in connecXon with this liXgaXon (Rightscorp noXces sent to Grande regarding online infringement
          by Grande customers, and Rightscorp’s downloads of copyrighted works that were being
          shared/downloaded by Grande customers), as well as evidence that RIAA itself generated in
          connecXon with this liXgaXon (running the Rightscorp-downloaded works through the Audible
          Magic database, and ﬁles/data showing matches between the downloaded works and PlainXﬀs’
          Copyrighted Sound Recordings).

       Second, RIAA is in the process of invesXgaXng whether it engaged MarkMonitor or any other service
       that sent noXces of copyright infringement to Grande or its Grande’s customers. We expect that
       invesXgaXon to be concluded by early next week, and will revert back on that point as it might aﬀect
       RIAA’s responses on this topic.

       Third, RIAA responds to your email below as follows:
         Topic 21: RIAA agrees to designate one or more witnesses to tesXfy as to non-privileged
         informaXon in response to the topic as revised in your email.
         Topic 25: RIAA’s witness(es) will be prepared to tesXfy as to non-privileged informaXon regarding
         the documents/materials it has produced that are discussed above.

       RIAA otherwise stands on its objecXons and responses to Grande’s deposiXon subpoena.

III.   Discovery Schedule

       You and we discussed that it was sensible to extend the current discovery schedule out another 30
       days, to have fact discovery conclude on July 2, 2018, with expert discovery and summary judgment
       deadlines similarly extended (something we previously indicated to you and to the Court that we
       were willing to do). Here are the proposed dates:

         Fact Discovery Cut-oﬀ: July 6, 2018
         PlainXﬀs’ Opening Expert Reports: July 13, 2018
         Defendants’ Opening Expert Reports: August 3, 2018
         Defendants’ Rebucal Expert Reports: August 17, 2018
         Close of Expert Discovery: September 7, 2018
         ParXes To File MoXons for Summary Judgment No Later Than: September 11, 2018

       We are happy to discuss these proposed modiﬁcaXons with you.

       Also, we discussed with you scheduling deposiXons. You have our list of requested witnesses; please
       provide us with dates for those deposiXons. As for PlainXﬀs’ witnesses, you indicated that you would
       reﬁne your request aner you have ﬁnished your review of PlainXﬀs’ documents. We agree to confer
       with you further on the deposiXon of PlainXﬀs’ witnesses. In the meanXme, we will at a minimum

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        obtain dates for PlainXﬀs’ 30(b)(6) designees as well as the RIAA and Rightscorp witnesses.

Regards,
Rob Gilmore

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From: Richard L. Brophy [mailto:RBrophy@ArmstrongTeasdale.com]
Sent: Wednesday, May 09, 2018 2:36 PM
To: Phil O'Beirne <POBeirne@steinmitchell.com>; Robert B. Gilmore <RGilmore@steinmitchell.com>;
Jonathan E. Missner <JMissner@steinmitchell.com>
Cc: Zachary C. HowensXne <ZHowensXne@ArmstrongTeasdale.com>; Maggie Szewczyk
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Smelcer <PSmelcer@ArmstrongTeasdale.com>
Subject: RIAA v. Grande - Outstanding Discovery Disputes [IWOV-iDocs.FID3130226]

Phil,

This email is intended to address a number of the ParXes’ outstanding discovery issues. Each major topic is
idenXﬁed in bold below.

First, pursuant to the ParXes’ agreement we set forth below Grande’s ﬁnal answers regarding PlainXﬀs’
outstanding discovery issues. During our meet and confer sessions, I understand that we addressed and
resolved a majority of the issues presented in your April 19, 2018 lecer. Grande’s responses to what we
understand to be the remaining outstanding issues are as follows:

Interrogatory 12:

Grande will agree to provide the number of subscribers terminated under its DMCA policy. Grande will not
agree to provide informaXon regarding terminaXons under diﬀerent, unrelated provisions of its Acceptable
Use Policy. Such terminaXon informaXon is irrelevant to any issue in this case.

Interrogatory 7:

To the extent it is capable of being generated, Grande will provide a report that idenXﬁes the number of peer-
to-peer infringement noXces received by Grande from Rightscorp on a monthly basis from 2010 to present.
To the extent it is capable of being generated, Grande also agrees to provide a report that idenXﬁes the total
number of peer-to-peer infringement noXces received by Grande on a monthly basis from 2010 to present.

Interrogatory 4:

Grande stands by its response to this interrogatory: “Grande states that it is unaware of any party that is
liable to any PlainXﬀ in this lawsuit.”


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Interrogatory 6:

To the extent possible, Grande will supplement its answer to provide informaXon daXng back to 2010.

Interrogatory 11:

It is our understanding that a template hard-copy lecer was produced to PlainXﬀs. We are in the process of
tracking down the speciﬁc bates number, which we agree to supply to PlainXﬀs.

Interrogatory 14:

To the extent available, Grande agrees to supply PlainXﬀs with a list of each individual named in its AUP as
the proper recipient for complaints of alleged copyright infringement for the years from 2010 to present.

Second, we need conﬁrmaXon regarding the completeness of various document producXons. Please conﬁrm
that producXon is complete for the Rightscorp and RIAA subpoenas. Please also conﬁrm that producXon is
complete for PlainXﬀs document and email producXon, other than with regard to our outstanding discovery
disputes.

Third, will PlainXﬀs agree to amend their discovery responses to idenXfy instances in which PlainXﬀs are
withholding document producXon pursuant to an objecXon?

Fourth, when will Rightscorp be producing its source code and making its compiled/debug sonware available
for inspecXon? On 4/27 Rightscorp indicated that those materials would be available “in a week or two.”

Fiah, we await an arXculaXon of your posiXon regarding the nature and basis of any privilege or work
product immunity that exists between Rightscorp and any PlainXﬀ/RIAA. We have been waiXng for your
posiXon on this since our ﬁrst meet and confer on the Rightscorp subpoena many months ago. Grande’s
posiXon is that PlainXﬀs have supplied no informaXon or evidence that would support extending PlainXﬀs’ or
the RIAA’s privilege or work product protecXon to communicaXons with third-party Rightscorp. If PlainXﬀs
contend they have evidence that supports asserXon of privilege or work product protecXon as to
communicaXons with Rightscorp, PlainXﬀs need to idenXfy it immediately. It is further Grande’s posiXon that
there is no reason for the parXes to wait for the producXon of privilege logs to resolve (or seek court
resoluXon of) this issue.

Sixth, we understand the parXes to be at issue regarding all document requests and deposiXon topics
(including those in the subpoenas to the RIAA and Rightscorp) seeking informaXon (1) about systems other
than Rightscorp’s for detecXng alleged copyright infringement using BitTorrent or other ﬁle-sharing sonware;
and (2) about noXces of alleged copyright infringement sent to ISPs or customers of ISPs other than Grande,
including any complaints or issued raised regarding the Rightscorp system or its noXces by other ISPs or
customers of other ISPs.

Seventh, regarding Grande’s Rule 30b6 noXces to PlainXﬀs, please note that we do not give any weight or
merit to the “objecXons” PlainXﬀs served in response. If PlainXﬀs take issue with Grande’s topics for
deposiXon, PlainXﬀs should pursue a protecXve order. With that said, we are willing to conXnue to work with
PlainXﬀs in good faith to address any outstanding concerns PlainXﬀs may have regarding Grande’s requested
deposiXon topics.

In the spirit of compromise, Grande agrees to the following modiﬁcaXons of those topics:
       Topics 4 & 43: Prior to the deposiXon, Grande will idenXfy speciﬁc discovery responses about which it
       wishes to quesXon the witness.

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      Topic 10: We revise the topic as follows: “The factual basis for PlainXﬀs’ decision to pursue claims for
      secondary copyright infringement against Grande.”
      Topics 26 & 27: We agree that the witness does not need to be prepared to discuss informaXon
      received from Defendants in discovery in this case. Otherwise, we stand by the topics as wricen.
      Topic 31: We agree to withdraw this topic conXngent on any responsive opinion of counsel being
      idenXﬁed in a privilege log.
      Topic 46: We revise the topic as follows: “PlainXﬀs’ knowledge and evaluaXon of third-party conduit
      internet service provider policies relaXng to 17 USC 512(i)(1).” We further agree that the witness does
      not need to be prepared to discuss any such knowledge or evaluaXon that was carried out by or at the
      direcXon of counsel provided that any related documents are idenXﬁed in a privilege log.

Eighth, regarding Grande’s document requests to PlainXﬀs:

Request for ProducXon 46: During our meet and confer sessions, we agreed to consider rearXculaXng this
request. Aner further consideraXon, we stand by our original request.

Request for ProducXon 56: “All documents and things relaXng to the detecXon of actual infringement
occurring through peer-to-peer ﬁle sharing sonware/protocols such as BitTorrent.”

Request for ProducXon 63: “All documents and things relaXng to possible ways to limit or prevent peer-to-
peer ﬁle sharing conducted through BitTorrent and/or other similar sonware/protocols.”

Ninth, regarding Grande’s subpoena to Rightscorp:

Request for ProducXon 11: During the meet and confer, PlainXﬀs raised concerns about this request calling
for producXon of materials generated by Rightscorp in connecXon with the Cox liXgaXon. We agree that this
request does not seek those materials (although we note that such materials may be responsive to another
document request, and to the extent they are not privileged or work product, need to be produced).

Tenth, regarding Grande’s subpoena to the RIAA:

Topic 7: We agree to the RIAA’s proposed modiﬁcaXon of this topic.

Topic 21: We revise as follows: “The RIAA’s authority to act on behalf of any PlainXﬀ regarding the policing or
enforcement of any PlainXﬀ’s rights with respect to the copyrighted works at issue in this case.”

Topic 22: We agreed to consider the RIAA’s proposal to limit this topic to the RIAA’s engagement of Rightscorp
with respect to claims against Grande. On further consideraXon, we do not agree to this limitaXon.

Topic 25: In advance of the deposiXon, we agree to idenXfy any speciﬁc documents produced by the RIAA
about which the witness should be prepared to tesXfy that may not be within the scope of another
deposiXon topic.

Thanks,
Richard




Armstrong Teasdale LLP


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